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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY



JENNIFER MAIlER,                                 .            -

                                               Civ. No. 17-29D7 (KM) (JBC)
on behalf of herself and those
similarly situated,
                                                          ORDER
                  Plaintiff,

V.


NORTHLAND GROUP, INC.,

                 Defendant.



      The defendant, Northland Group, Inc. (“Northland”), having filed a
motion to compel arbitration and stay this action (DE 44); and the plaintiff, Ms.
Maher, having filed papers in opposition (DE 54); and Northland having filed a
reply (DE 55); and the court having considered the submissions, and the entire
case filed, without oral argument; for the reasons stated in the accompanying
Opinion, and good cause appearing therefor;
      IT IS this 19th day of July, 2019
      ORDERED that the motion to compel arbitration and stay this action (DE
44) is DENIED.




                                      Kevin McNulty
                                                     M54
                                      United States District Judge
